           Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 1 of 51 PageID #:1
                                                                                                     TL
                                                                            RECEIVE DI
                                  UNITED STATES DISTRICT COURT
                              FoR THE NoRTHERN DrsrRrcr or rt,uNors APR               - L Zrl$

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                                                )
                                                )         CIVL ACTION
                                                )
                                                )
                                                )        N     1 : 15-cv-02g6S
                                                )
                                                )              ,J-udgeJohn Robert Blakev
                                                )              Magistrate Judge tir;'%
                                                )                                        Hez
                                                )
                                                )
     ame   ofthe defendant or defendants)       )


                      COMPLAINT OF EMPLOYMENT DISCRIMINATION
                          )




1.   This is an action for employment discrimination.

2.   The plaintiff is                                                                       of the

county of                                              in the state of

3.   The defendant is

street address is


6*@u*v1                                             (state)
                                                               -3-.       (ztP)

(Defendant's telephone number)                      b84, 0?o{
4.   The plaintiff sought employnent or was employed by the defendant at (street address)

                                   fi*a
     1"o'   ty1
                  \ff{-         (state)   ,F-   (ZIp   code)   @%3
           Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 2 of 51 PageID #:2




  5.    The pla intiff lcheck one boxl

        (r)E            was denied employment bythe defendant.


        o)n             was hired and is still employed by the defendant.

        (.K          was employed but is no longer employed by the defendant.


  6.    The defendant discriminated against the plaintiff on or abou/or beginning on or about,
        (month)          l,L              ,   @ay)--'Lb-, (v"ur)        &O/f
 l.t      fQnoose   parasraph        7.

                    (a) The defendant is not a federal governmental              agency, and the   plaintiff   lcheck

                               -.'J
                            - -boxl
                          one                 lnorrool              filed a charge or charges against the defendant
                                                   l)no,
 asserting the acts of discrimination indicated in this complaint with any of the following

 govemment agencies:

          (i)       [      ,rr. united States Equal Employment opportunity commission, on or about

                    (month)                              (day)-         (year)

          (ii) ffi         ,n. illinois. Deparrment of Human Rights, on or abotrrt

                    6ontn1      d                      -@^e-]b-o*o               &t4
      (b) If charges were filed with an agency indicated above, a copy of the charge                 is


 attached.      ffi ,r,          I            *o,   but plaintiff will fite a copy of the charge within 14 days.

It is the policy of both the Equal Employrnent Opportunity Commission                    and the   Illinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff has no reason to believe that this policy was not followed in this case.


7.2       The defendant is a federal governmental agency, and
         (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

         defendant asserting the acts of discrimination indicated in this court complaint.
     Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 3 of 51 PageID #:3




                    tr         Yes   (month)_                      (day)_          (year)


                    q          No, did not file Complaint of Employment Discrimination

     (b)     The plaintiff received a Final Agency Decision on (month)
             (dav)                   (year)

     (c)     Attached is a copy of the

             (i)    -
                   Complaint of Employment Discrimination,

                   ffi "ES E                   but a copy will be filed within 14 days.
                                         ^O,

             (ii) Final Agency Decision

                        I


                   $lT\ vrs LI No, but a copy will be fited within 14 days.

8.   (Complete paragraph B only if defendant is not afederal governrnental agency.)


     (u)n          the United States Equal Employment Opportunity Commission has not issued


                   a   Notice of Right to Sue.

     (b)fl         the united States Equal Employment opportunity Commission has issued a

                   Notice of Right to Sue, which was received by the plaintiff on
                   (month)                       (day)_          (year)_            a copy of which

                   Notice is attached to this complaint.


9.   The defendant discriminated against the plaintiff because of the plaintiff s lcheck only
     those thut applyl:


     (u)f]   Age (Age Discrimination Employment Act).

     &)[     Color (Title VII of the Civil Rights Act       of   1964   and42 U.S.C. $1981).
      Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 4 of 51 PageID #:4




      (.)n     Disability (Americans with Disabilities Act or Rehabilitation Act)

      (d)n     National Origin (Title VII of the Civil Rights Act     of    1964 and42 U.S.C. $1981).


      C)*      Race (Title   VII of the Civil Rights Act   of 1964 and42 U.S.C.$ 1981).
      (0n     Religion (Title VII of the Civil Rights Act     of   Lg64)

      (e)M     Sex (Title   VII ofthe Civil Rights Act of 1964)

10.   If the defendant is a state, county, municipal (city, town or village) or other local
      govenrmental agency, plaintiff fuither alleges discrimination on the basis of race, color,
      or national origin (42 U.S.C. $ 1983).
11.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title   VII
      claims by 28 U.S.C.$133t,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(f)(3); for
      42 U.S.C.$ 1981 and $ 1983 by 42 U.S.C.$ 1988; for the A.D.E.A .by 42 U.S.C.$          l2ll7;
      for the Rehabilitation Act, 29 U.S.C. $ 791.


12.   The defendant lcheck only those thut applyl


      (,)fI      failed to hire the plaintiff.

      o)n        terminated the plaintiff s employment.


      @)fr       failed to promote the plaintiff.

      (d)fI      failed to reasonably accommodate the plaintiff       s   religion.

      (.)E       failed to reasonably accommodate the plaintiff       s   disabilities.

      ,ft        failed to stop harassment;

      GN         retaliated against the plaintiff because the plaintiffdid something to assert
                 rights protected by the laws identified in paragraphs 9 and 10 above;

      G)fl       other (specify):
         Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 5 of 51 PageID #:5




          The facts supporting the plaintiffls claim of discrimination are as follows:




14.      VGE DISCRIMINATION ONLyf Defendant knowingly, intentionally,                    and   willfully
         discriminated against the plaintiff.

15.      The plaintiff demands that the case be tried   by,   juy\il     VgS   E*o
                                                                     \
16.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
       lcheck only those that apply\


      (u)E      Direct the defendant to hire the plaintiff.

      (b)n      Direct the defendant to re-employ the plaintiff.

      (")I      Direct the defendant to promote the plaintiff.

      (0n       Direct the defendant to reasonably accommodate the plaintiff     s   religion.

      (")E      Direct the defendant to reasonably accommodate the plaintiff s disabilities.

      (0F       Direct the defendant to (specify)'   S:ilf      e-
         Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 6 of 51 PageID #:6




     (g}R            If available,grant the plaintiff appropriate injunctive relief, lost wages,
                     liquidated/double damages, front pay, compensatory damages, punitive damages,
                     prejudgment interest, post-judgment interest, and costs, including reasonable
                     attorney fees and expert witness fees.
       i
   ---df]-)
    (h)|fI           Grant such other relief as the Court may find appropriate.
         t
             ifPs signature




    (Plaintiff   s




         intifPs street address

                                                                           SxcvW

(City)                               (state;'ftr   - erp)U:{Ia{f
(Plaintiff s telephone     numberlffi
                              ' -T---"v-

                                     lte q13,vbbb
                       Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 7 of 51 PageID #:7
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     lrefore cornplcting this tbrnr.

                                               #t4tY0.[6.02                                                                201.IcF2690
                                                                                               EEOC

                                               lllinois Department of fluman Rights and EEOC
    NrtillEoFCo'!tp@
                                                                                                              TELEPHONENU@
    i}lr. Kenneth Seals
    STREET,\DDRESS                                                                                             312) 120-7300
                                                                  CITY, STATE AND ZtF CODE
                                                                                                                                         DATE OF BIRTT{
   72.13 S. Benrlett Avenue,                                                                                                                  //
   N.\[IED IS'TTIE E}IE
                                                                              Illinois 60649                                               }I D    YE.IR


   NAIIE Or nespoNonxr                                                                               THAN ONE LIST BELOW)
                                                                                     NUIIBER OF              'TELEPHONEN@
                                                                                     EMPLOYEES,
   Advocate Christ Nledical Center                                                NIETVIBERS
   STREET ADDRESS                                                                    l5+
                                                               crrY,   STATE AND zIP COOE

   4440 \Y.95th Street
                                                               Oak Lawn, Illinois 60453
  C.IUSE OF DISCRINIINATION BASED ONI,
                                                                                                           DATE OF DISCRIMINATTON
                                                                                                           EARLTEST (ADEA/EPA) L..\TEST (ALL)

                               Sex        Sexual Orientation                                                       /t             tut6tt3
  THE PARTICULARS OT

      T.   A.     TSSUE/BASIS

                  UNEQUAL TERMS AND CONDITIONS OF EMpLoyMENT
                  BECAUSE OF MY SEX, MALE                                                                     - NOyEMBER                16, 2013,

           B.    PRIMA FACIE ALLEGATIONS
                 l. My sex is male.
                 2'   Nly.iob performance as housekeeper meets Respondent,s
                                                                            expectations. I was hired on
                      September 23,2013.

Page   I of 2
I also rvan-t_thlr .t u
agencies iff change my address or tetephone
                                              number and I will
cooperate fully rvith them in the proceJsing ofmy                         srrBscRrBED AND SWOPN'//o
                                                  charge in
accordance with their procedurei.




                                                                                           SICNATU


                     OFFICIAL SEAL
                 MQUEL C GUERRA
           NOTARY PUBLIC.STATE OF ILLINOIS                                      ATURE OF CONIPf,,ITN,INT
            MY C0MMISSION EXPIRES:05/1 7/1 6
                                                                        r.de{ye undcr penalty that the lbregoing is true nnd
                                                                                                                                  correct I srrear or aflirm
                                                                        lhat I have read the above charge ur,i tt,it it i,
                                                                                                                           iru" ,, ,1,. best ofmy
                     NOT,\RY ST.I}[P                                    knorrledge, iuformation lnrl belief.
        EEO-s FOtti\t (Rev.7t z_lNr)
                                                                                                                                                               A
                                                                                                                                                               ,1
       Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 8 of 51 PageID #:8
  Charge Nurnber: rUr,SOrUrO
  Compllinlnt: Kelrneth Se:rls                                    )
  Plge 2 of 2


               3' on November       161 2013, I lvrs subjecterl to unequal
                                                                           terms and conditions of
                    employment by christopher shank (mare),
                                                                   supur"i.orr lvho removed me
                    from my job assignmeni in the operating Room
                                                                        to a tloor assignment No
                    reason rvas given.

               4'   Respondeut's negative employment action
                                                               rvas because I do not conform
                    to Respondent's gentrer-stereotype of a biorogicar
                                                                       mare at birth.
 IT.   A.      ISSUE/ BASIS
               UNEQUAL TERIVTS AND CONDITIONS OF
                                                    E}TPLOYMENT _
               NOVEMBER 16, 2013, BECAUSE oF rvly sEXUrtL
                                                          0RTENTATION,
               HOIVIOSEXUAL

       B.      PRIMA FACIE ALLEGATIONS
               l. &Iy sexual orientation is homosexual.
              2. Myjob performa[ce       as housekeeper meets Respondentrs
                    was hired on September 23r2013.                           expectations.   I

              3. on November   16:-20-13rl was subjected to unequar terms
                                                                           and conditions of
                 employment by Christopher shank (heterosexuuil,
                                                                     sup"rvisorn who
                 removed me from my job assignment in                                     ,


                                                         the op".aiing Room to a floor
                 assignment. No reason was given.

              4' similarlysituated heterosexual emproyees were not
                job assignment under similar circumstances.        removed from their

MFP/TFR/mfp
      Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 9 of 51 PageID #:9

  STATE OF ILLINOIS                )

  COUNTY OT COOK
                                   )ss
                                   )                                 F|LE NO (s)_?g:-4cF2690

                                        AFF|DAVTT OF SERVTCF

          Benetta M' Davies, deposes and states that she served a copy of the attached

                                                                                        on each persan
  named below by depositing same this 6ft day of January, 2015, in the U.S. Mail
                                                                                 Box at
  100 West Randolph Street, Chicago, lllinois, properly posted for FIRST CLASS
                                                                               MAIL,
 addresses as follows:



         Gary Martoccio                                             Mary Ellen Cherry
         Spielberger.Law Group                                      Advocate Health Care
         202 S. Hoover Blvd.                                        3075 Highland Parkway
         Tampa, FL 33S09                                            $uite 600
                                                                    Downers Grove, lL 60515




under penalties as provided by taw pursuant to section 1-109 of the code of civit procedure,
                                                                                                the
undersigned certifies that the statements set forth in this instrument are true and conect, except
                                                                                                   as to
matters therein stated to be on information and betief and as to such matters the undersigned
                                                                                                certifies as
aforesaid that she verily believes the same to be true.




                                                               8* @w             -.-*--^)
                                                                             Benetta M.     Davieql.*"'*


PI,FASE NOTE:

The above-signed-person is responsible only for mailing these documents. lf you wish
a review of the findings in this case you must comptete'ihe Request for Review form
ailached' Department staff are not permitted to discuse the investigation findings once
a Notice of Dismissal has been issued.
     Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 10 of 51 PageID #:10


                                     STATE OF TLLINOIS
                               DEPARTMENT OF HUMAN RIGHTS

 IN THE MATTER OF:
                                               )
 KENNETH SEALS,
                                               )
                                               )
                         COMPLAINANT,          )            CHARGE NO.        2014CF2690
                                               )              EEOC NO.         218A41406
 AND
                                              )
                                              )
ADVOCATE CHRIST MEDICAL
                                              )
CENTER,
                                              )
                                              )
                        RESPONDENT.           )

                                    NoTtcE oF ptsMtssAl

        Gary Martoccio                                     Mary Ellen Cherry
        Spielberger Law Group                              Advocate Health Care
        202 S. Hoover Blvd.                                3075 Highland Parlaray
        Tampa, FL 33609                                    Suite 600
                                                           Downers Grove, lL 60515



DATE OF DISMISSAL: January 6, 2O1S

1'      YOU ARE HEREBY NOTIFIED that based upon the enclosed investigation
       report, the DEPARTMENT OF HUMAN RIGHTS (DHR) has determined
                                                                                 that
       there is NoT substantial evidence to support tfre iltegations of the charge(s).
       $9grylnglv, pursuant to SectionTA-102(D) of the Hriman nunts Act g7s'r[cs
       5n-1U et. seq.) and its Rules                   (56 ttt. Adm. 6ode. Chapter 1,
       Section 2520.56q, the charge T9&qyiations
                                      is HEREBY DISMISSED.

2-     lf complainant disagrees with this action, complainant may:

       a)   Seek review of this dismissal before the lllinois Human Rights Commission,
            100 West-Randolph Street, Suite 5-100, Chicago, lllinois, -OOOO1, by filing
                                                                                        a'
            "Request for Review" with the Commission nV i'ne rqr".t tor
                                                                          ieview nfn!
            date below. Respondent will be notified by tlie Human Rignts Commission
                                                                                           if
            a Request for Review is filed.

       REQUEST FoR REvtEw FtLtNc DEADLTNE DATE: Aprit 1g,2o1s

      Or,

      b) Commence a civil ,.aiot i1 the appropriate state circuit court within
                                                                                 ninety
         (90) days after receipt of this wotiie. A complaint snoJto be fited
                                                                              in the circuit
         court in the county where the civil rights violition was allegedly committed,
  Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 11 of 51 PageID #:11
  "#*
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   Kenneth Seals
   7618 S. Kingston 1E
   Chicago lL 60649



                                                                                                 September 12,2014

                                                                                                 Re: Kenneth Seals
                                                                                                 Birthdate: 1211411987


   Dear Mr. Seals:

   This letter verifies that you initiated mental health services at Metropolitan Family
   Services today (12t18t14 at 2:00pm) by attending your first assessment session.
   your second session is scheduled for 12126t14 at 1:30pm and your initial
   psychiatric evaluation with Dr. Morris Blount is scheduled for January 27th 2015
   at 10:00am.


   lf you need assistance or have any questions, feel free to call me a1773-371-
   2942.




                                                                                       Marvin Dandridge LCPC, LPHA
                                                                                       Metropolitan Family Services/AMH




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  Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 12 of 51 PageID #:12



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     Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 13 of 51 PageID #:13




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                                                    ,..j ..-"fr5*,




   o   Adults 18 and olderwho are seeking mental health services

i:1i*:;*,*'.,j;*;,;iJ     :



   o Evaluate your need for services
   o Develop a plan for treatment
   c Work towards your goals
   ,r Find appropriate resources for you
      Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 14 of 51 PageID #:14




iffi;f;;toi*   inilriiil;     t*
                            ;d;r-rrrt of papemork thar is r'*quirecj. iircluding r*qulrernerrrs
elietated by health insurance companies, as well as state ancl f*deral rules snei i*y,rs. 'l*u
can expeft that your asscrsnreni will be updated once fi y*ar ar:ri your treatni*ni pian v;!!l
be Lrpdateel every 6 months.


These are all diffe;-ent words t* d*scribe an individuai receivinu ment*i h*eith s*rv!***.


Ycu are responsible for tellinE h/etropolitan of any chang* in yoilr addr"ass ar phorre
number. Please let the front desk or your therapist know of the change. We also requii-e
that you inform us of any change in your health insurance, a$ soon as pnsnible. A chang*
in heaith insurance may affect the type of service you carr receive or your abiiity t*
continue to receive services at all, at Metropolitan.


You rnay be asked tn leave the program if:
   o You only want medication s*rvices (doctor only).
   (") You are t"rnabie to participate in recominended treatm*nt services.
   () You have acted aggressively or inapprnpriately ancj are a risk to cth*r con$uffiers
       and staff.
   'j  You have other canditions in addition to a mental health discrder, but yr:u are
       unwiliing io follow up with treatment for the other cernditiorrs. F*r instar:e*. if y*u
       have a substance abuse proht*;n, you are required to seek substance abuse
       treatment in addition to participating in mentai health treatnrent at I'ri!*tr*;:oiitan
       Family Services.
  o Services are no longer benefiting you.
  o Your needs cannot be met within a community mental healih center and annther
       provider is available to provide appropriate treatrnent.

             .."..
*l "-. .:"           - ..."                      -.;...,     ,   .



\li/e value the importance of taking care of overall health needs as well as mentai health
needs. lf you have problems with the following conditions. you are required ta participat*
in treatrnent outside of Metropolitan Family Services for these conditions, in addition tc
participating in mental health treatment. This is a condition of enrollment anei conlinued
participation at Metropolitan Family Services"
     c Using or abusing substances
     o Eating disorders
     o Medicalcomplications
     o Cognitive irnpairments or developmental disabilities
     Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 15 of 51 PageID #:15


I;'*:j;*;=..-;,.:...-;;-.:   . ...
                                     ".;;";*. :;;,";-
Adult Mental Health services at l\{etropolitan Faniily Servic*s are not free. fl'{etrop*litari
Family Services wiil accept the following payment arrangernents for serviees:

    (.;, Medicairi istaridard plan, and selected lVlanaged CarelHMO plansl
    o Medicare (standard plan, and selected lVlanaged Car*lHIi,{O plans}
    c Private insurance {PPO)
    c Tri-Care, CHAMP$ VA
    (, Metrcpolitar'i Family $eryices {lV1f$) can aiso provide linrit*ei a*rvic*s t* rnriividuair,r
         whc have no health irisurance. lndividuals who ar* uninsurad will be assisted t*
         apply for healih insuranee while a client at MFS. Howev*r, I\,{FS doe* n*t ace*pt ali
         health insurance plans, which may affect a client's ability t* rer*ive s*ri;ic** frc;:":
         MF$.

Because each health insurance plan deternrines what services ihey will pay for and th*
amount you must contribute (i.e., co-pay, deductible), the services yoN.l may be eligihl* tc
receive rnay differ from what another consumer is eligible to rec*iv*. Your c*rrtributian
(i.*.. eo-pay, dedr-rctible) will be discussed during the financial registration pr***s*. lf y*i;
have health insurance which does not pay for group servlces, you r"l.ray be eiigible tr: pay
out of pocket, at a sliding scale rate, to attend group services. lf you choos* to *nroll in x
health insurance plan that Metropolitan Family $ervices daes not accept, you v,rill be
referred to your health plan for assistance with finding a provider who accepts yrur healtl:
insurar:ce plan and you wlll be discharged frorn Metropolitan.



BillinE statement$ are mailed to you at the address on file, on a monthly basis.
h{etropolitan Family $ervices does not charge interest on unpaid bills. Paynrents ar*
applied to lhe oldest charges on the bill first. You are expect*d to pay co-pays at titric *i
service. lf you have an outstanding bill, you are expected to make a good faith effcrt i* pay
off outstanding balances. Front desk staff will make verbal rerninders to you about any
outstanding fees, at time of service. lf you have an outstandlng balance at th* time yau
complete serviceslyour case is closed, you will be asked to pay the balance in full priar t*
receiving services in the future.


lf you have Medicaid with a spend down, you are expected tc rneet that sp*nd down, anei
ars re$ponsible for paying for all services when the l\{edicaid spend down is not nnet.
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Page 2
Notice of Dismissal for Lack of Substantial Evidence
2014CF2690


             lf you intend to exhaust your State remedies, please notify the Equal
             Employment Opportunity Commission (EEOC) immediately. The EEOC
             generally adopts the Department's findings. The Appellate Courts in
             Watkins v. Office of the State Public Defender, _ lll.App.3d _,   926

             lll.App.3d       979 N.E.2d 113 (4m Dist. 2012), have held that discrimination
             complaints brought under the lllinois Human Rights Act ("|HRA") against -the
                        -,
             State of lllinois in the lllinois Circuit Gourt are baned by the State Lawsuit
             lmmunity Act. (745 ILCS 5/1 et seq.). Complainants are encouraged to
             consult with an attorney prior to commencing a civil action in the Circuit Court
             against the State of lllinois.

Please note that the Department cannot provide any tegal advice or assistance.
Please contact legal counsel, your city clerk, or your county clerk with any
questions.


3.       Complainant is hereby notified that the charge(s) will be dismissed with prejudice
         and with no right to further proceed if a timely request for review is not filed with
         the Commission, or a written complaint with the appropriate circuit court.


4.        lf an EEOC charge number is cited above, this charge was also filed with the
          Equal Employment opportunity commission (EEoc). lf this charge alleges a
         violation under Title Vl! of the Civil Rights Act of 1964, as amended, or the Age
          Discrirnination in Employment Act of 1967, Complainant has the right to request
          EEOC to perform a Substantial Weight Review of this dismissal. Please note
         that in order to receive such a review, it must be requested in writing to EEOC
         within fifteen (15) days of the receipt of this notice, or if a request for review is
         filed with the Human Rights Commission, within fifteen days of the Human Rights
         Commission's final order. Any request filed prior to your receipt of a final notice
         WILL NOT BE HONORED. Send your reguest for a Substantial Weight Review
         to EEOC, 500 West Madison Street, Suite 2000, Chicago, lllinois 60001.
         Otherwise, EEOC will generally adopt the Department of Human Rights' action in
         this case.

PLEASE NOTE: BUILDING SECURITY PROCEDURES PRESENTLY IN PLACE DO
NOT PERMIT ACCESS TO EEOC WITHOUT AN APPOINTMENT. IF AN
APPPOINTMENT tS REQU|RED, CALL 312-869-8000 ()R 1-800-669-4000.


                                            DEPARTMENT OF HUMAN RIGHTS

H81509/HB59
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12110
  Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 17 of 51 PageID #:17


                                  STATE OF ILLINOIS
                              HUMAN RIGHTS COMMISSION

 IN THE MATTER OF:
                                         )
 KENNETH SEALS,                          )
                                         )
                         COMPLAINANT,    )             CHARGE NO. 2AMCF269A
                                         )               EEOC NO. 21B,A414A6
 AND                                     )
                                         )
 ADVOCATE CHRTST          MEDTCAL        )
 CENTER,                                 )
                                         )
                         RESPONDENT. )

                                 REQUEST FOR REVIEW

         Gary Martoccio                                Mary Ellen Cherry
         Spielberger Law Group                         Advocate Health Care
         202 S. Hoover Blvd.                           3075 Highland Parlauay
         Tampa, FL 33609                               Suite 600
                                                       Downers Grove, lL 60515




TO:     Gary Martoccio

DATE: JanuaryO,2015

REQUEST FOR REVIEW FlLlNc DEADLINE DATE: April 13,2015




      ! hereby request that the Department of Human Rights' (DHR) dismissal of the
charge be reviewed by the lllinois Human Rights Commission.



Complainant's Cunent Address (please print clearly):

                                                       lpUUnit #


City.                         state          -   Zip-Phone (-)-
  Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 18 of 51 PageID #:18



 Page 2
 REQUEST FOR REVIEW
 2014CF2690

Tg REQUEST INVESTTGAT|ON F|LE:
The Department's investigation file may be reviewed or copied upon request once the
Department's investigation is completed. The Department is not iesponsible for copy
service fees. A mlnimum of 3 business days' notice is required. Call (912) 814-6262
to make anangements.



IN THE SPACE PROVIDED BELOW, YOU MUST LIST AND DESGRIBE THE SPECIFIC REASONS
THATTHE CHARGE SHOULD NOf HeVe BEEN DSfUSSeo. Happlicabte, you maywrite on the
back of thls form or attach additional information or documents, whlch suprilort your Request for
Revlew_.^Yo! lay review your investigation flte, to help you prepare your iegueit by calling 3i2-
81 4-6262   or   217 -7 85-51 OO.




             SIGNATURE                                                            DATE

YOU MUST ENCLOSE THE ORtctNAL AND THREE CqptES. INCLUDING
SUPPORTING DO-CUMENTS. OF YOUR ENTIRE REQUEST AND SIGN. DATE AND
HAVE THIS FORM POSTMARKED OR HAND DELIVERED BY THE FILING
DEADLINE DATE ABOVE. TO:

       lllinois Human Rights Commission, 100 West Randolph Street, Suite 5-100,
       Chicago, lL 60601.


Please note that pursuant to Section 5300.410 of the Commission's Procedural
Rules, exeept by permission of the Commission, the request, argument and
supporting materials shall not exceed 30 pages.

Further, note that pursuant to 56 lll. Admtn. Code S $A0.40(D) of the
Gommission's Procedural Rules, all arguments ln support of the Request for
Review must be written on 8Tz x 11 paper. Any argument submitted on non-
conforming paper (such as a "post-if' note) will not be considered part of the
Request for Review, and will be disregarded by the Commlssion.


THIS FORM MAY NOT BE SENT VIA TELEFA(.
HB15O9/H859 HRC FYR 01/14
 Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 19 of 51 PageID #:19




                                    STATE OF ILLINOIS
                              DEPARTMENT OF HUMAN RIGHTS
                                 INVESTIGATION REPORT

 Comolainantl Kenneth Seals                 IDIIR No.:                  2414CF2690
 Respondent: Advocate Clrist Medical Center EEOC No.:                   2lRA4t406

 Investigator:    rrYPS
                                         Supenisor:                     W-     Date:     t;'/ Y'l(
IssuelBasls:                                           Finding:
A.   Unequal Terms and Conditions      of              A. Closed
     EmploymenUsex, male
B.  Unequal Terms and Conditions       of              B. Lack ofsubstantial evidence
    EmploymenUsexual
    orientation/homosexual

Jurisdlction:

Alleged violation:                           A&B      November16,2013
Charge filed:                                         Apil16,2014
Charge perfected:                                     April 16,2014
Amendments:                                           None
Numberof employees:                                    5978

Verilied Resoonse:

Due:         Jvne27,20l4
Received: Iwte23,2014
Timely: X Untimely: _
If untimely, good cause shown: Yes                     (Group ExhtbitA)

Emnlovment Data:

Respondent's EEO r€pof indicates it employs 5978 individuals; 976 (l6yo) male and
(84%) female. Respondent does not maintain data on its eurployee's sexual orientation.

Uncontested Facts:

   l.   Respondent is a hospital which provides full health services.

   2. Complainant was hired by Respondent as a housekeeper        on September 23,2Al'3.

   3.   Complainant had the least seniority of the housekeepers in the operating room.
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 Charge   No.: 20I4CFZ69O
 Page2 of 6

Comolainant,s Alteeations-Count E:

Complainant, a housekeeper, alleges he was subjected to unequal terms and conditions
                                                                                             of
employment when he was removed from his job assignment in the operating room (OR),
                                                                                           and
assigned to the main floor. Complainant aileges he was subjected to uiequal
                                                                                    tirms and
conditions of employment because of his sexualtrientatioq homosexual. Comilainant alleges
that non-homosexuals were not removed from their job assignments under similar
                                                                               circumstances.
Complainant alleges that his job performance as a housekeeper met Respondent,s expectations.

Resoondentts,Defenses-Count B :

              denies it subjected Complainant to rurequal terms and conditions of employment
-Respondent
because of his sexual orientation, homosexual. Respondenfs legitimate articulated non-
discriminatory reason it changed Complainant's assignnrint was because an evaluation of full-
time equivalents, (FTEs) such as Complainant it was deternrined that it was n@essary to reduce
the number of FTEs in specific areas such as the operating room and certain shifts because of
lrdgtuty reasons, and reassign FTEs to other areas. Respondent was transferred because he had
the least seniority in the O& and because ofhis behavioral and performance issues.

Investiqation Summaw-Count A I

A.    Comolainantts Evidence.

       l.   Complainant stated that on October 25,2013, he sent a picture of thrash left by the
            previous shift to his Supe'nrisor Anthony Griffin (non-homosexual). Complainant
            stated that Griffin asked him why he was in an area he was not assigned to and told
            him if you don't like what's going on in the operating room maybe you can find a
            new job. Complainant stated that in early January 2}l4,he was moved from the OR
            to the main floor. Complainant stated that Griffin told him he was moved because of
            budget cuts. Complainant stated that on another occasionn he doesn't remember the
            date, GrifiEn told him he had been removed from the OR because he was gay.
            Complainant stated that after he was moved to the main floor he was told around
            March 4, 2014, by Vicky Herrera (non-homosexual), housekeeper, and Sterlin
            Holloway (non-gay), housekeeper, that he had been removd from the OR because he
            is gay.

      2.    Complainant stated that he was harmed by the move because he got along well the
            people he worked with in the OR who were comfortable with his sexual orientation.
            Complainant stated that after he was transferred from the OR he had to deal with the
            public and co-workers who discriminated against him because he was gay.
            Complainant stated that on June 4, 2014, after he returned from lunch he found that
            milk had been spilled over his cleaning cart and someone had written on his
            Discharge Daily Log "Puck you Fagl' (Exhibit C). Complainant stated that he
            reported the incident to Sectrity Officer N. Gaynor (Sexual orientation unknown), but
            since there were no witnesses nothing could be done about the incident.
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          3.    Complainant stated that he did not know if any non-gays were transferred out of the
                OR at the time he was. Complainant conceded that he had the least seniority of the
                housekeepers in the OR. Complainant stated that he was subjected to unequal terms
                and conditions of employment when he was moved from the OR to the main floor
                because ofhis sexual orientation homosexual.

                Warren Johnson (malg non-homosexual), housekeeper, stated that he started at ttre
                same time as Complainant and they were both full-time housekeepers in the OR, but
               worked on different shifts. Johnson stated that all of a sudden they were both
               transfened out of the OR to the main floor. Johnson stated that they had been the only
               males working as housekeepers in the OR. Stedin Holloway (non-homosexual), told
               Complainant that ttrey did not want gays in the OR. Johnson stated that Anthony
               Griffin (non-homosexual), Complainant's Supervisor, also made the same comment
               Johnson stated that Complainant went to Human Resources and asked them why he
               was being moved and they told him it was because he had attendance and
               performance issues. Johnson stated that Complainant went back to Human Resources
               and they told him Respondent was starting a new unit, discharge, and they need full-
               time staffin that unit. Johnson stated that shortly after Complainant was moved from
               OR two Hispanics were transferred into OR and Griffin stated this is more like it, we
               have some regular people in the OR. Johnson stated that it was difficult for
               Complainant to work in a new area becaue he had a routine in OR and he had
               worked with people he got along well with.


          5.   Vicky Herrera (non-homosexual), housekeeper, stated that she thitrIc Complainant
               was heated unfairly. Herrera stated that Complainant started making complaints
               about the way thing were being done in the OR and they kicked him out. Herrera
               stated that she heard that Anthony Griffin Complainant's supervisor said that
               Complainant was a she-male. Herrera stated that Complainant had legitimate
               complaints that other employees were givinghim trouble.

B.    Resoondent's Evidence:

      1. Abigail Oman (non-homosexual), Human             Resources Consultant, stated that
               Respondent's EEO Policy  (Exhibit D), states that consistent with Respondent's
               philosophy of Human Ecology and Respondent's values Respondent's policy is to
               ensure that in every interaction with its associates Respondent acts   fairly, is conscious
               of biases and employs people without regard to their racg color, creed, ethnicity,
               gender, agg sexual orientation or disabilities. Oman stated that Housekeepers are not
               gven permanent assignments but are assigned according to Respondent's needs.

      2,       Christopher Skalnic (non-homosexual), Supervisor, stated that Respondent
               determined  it was necessary to reduce its 2014 budget by approximately 2,500,000
               (Exhibit E). Skalnic stated that during an evaluation of the allocation of the full-time
               equivalents (FTEs) it was determined that it was necessary to reduce the number of
               FTEs in specific areas of the environmental Services Departrnent (EVS) and on
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                certain shiffs within the   EVS.   Skalnic stated that a total   of   twenty-two EVS
               Associates assigned to the Operating Room tuea urere involved
                                                                         in a 2013 restnrcture
               which directly impacted a total of four EVS Associates including Complainant.
               Skalnic stated that Shada Mager (non-homosexual), was moved from the second shift
               to the third shift in the OR and Complainant, Warren Johnson (non-homosexual, and
               Joseph Butler (non-homosexual), were moved from the OR            to the main floor.
               Skalnic stated that during 2A13-2014 there were 42 shift changes, assignment changes
               and start-time changes within the Environmental Services Department (Exhibit D.

          3.   Oman stated that while in the OR Complainant received an employee coaching on
               November 29,2013, for his intimidating behavior towards his co-workers; because
               he frequently questioned them about their daily responsibilities and created a hostile
               environment. Oman stated that on Decenrber 13,2013, an e-mail was sent from Elena
               Sicairos (non-homosexual), housekeeper, to Complainant's Supervisor Anthony
               Griffin   (non-homosexual), complaining about Complainant's note taking
               intimidating manner, and spending much of his time on his cell phong also on
               December 13, 2013, Belinda Jonnionis (non-homosexual), housekeeper, complained
               about Complainant's note taking on how the first shift was working (Group Exhibit
               G).

          4.' Oman stated that the reason Complainant was chosen to be transferred from the OR
               was because he had the least seniority and because of his behavioral and performance
               issues.

C.      Complainant's Rebuttal.

          1.   Complainant denied that he intimidated his co-workers or created a hostile work
               environment. Complainant stated that he got along well with his co-workers in the
               OR and that is why he was upset about being transferred out of the OR to the main
               floor.

Analvsis:

The investigation revealed that Respondent's EEO Policy, states that consistent with
Respondent's philosophy of Human Ecology and Respondent's values Responde,nt's policy is
to ensure that in every interaction with its associates Respondent acts fairly, are conscious of
biases and employ people without regard to their racg color, creed, ethnicity, gender, age, sexual
orientation or disabilities. Complainant maintains that he was subjected to unequal terms and
conditions of employment when he was removed from his job assignment in the operating room
and assigned to the main floor. Complainant maintains that he was subjected to unequal terns
and conditions of employment because of his sexual orientation, homosexual, and that non-
homosexuals were not removed from their assignments under similar circumstances. Respondent
denies that it subjected Complainant to unequal terms and conditions of enrployment because of
his sexual orientation, homosexual. Respondent's position is that because an evaluation of full-
time equivalents, (FTEs) such as Complainant it was determined that it was necessary to reduce
the number of FTEs in specific areas such as the operating room and certain shifts because of
budgetary reasons, and reassign FTEs to other areas. Respondent's position is the reason
Complainant was chosen to be hansferred from the OR was because he had the least
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seniority and because of his behavioral and performance issues. The investigation revealed that
two non-homosexuals were transferred out of the OR to the'main floor the same time
Complainant was transferred. The investigation revealed during IO1JAO1 4 there were 42 shift
changes, assignment changes and start-time changes within the Environmental Services
Departnent.

Findines and Conclusion-Count A:

A finding of Lack of substantial Evidence is recommended because:

The evidence shows that Complainant was transferred from the Operating Room to the main
floor because he had the least seniority in the Operating Room and becaus" of hir behavioral and
performance issues. The evidence shows two non-homosexuals were transferred out ofthe OR to
the main floor the same time Complainant was transferred. The evidence shows that during
2013-2014 there were 42 shift changes, assignment changes and start-time changes within ttri
Environmental Services Departmenl The investigation did not find nor didComplainant
provide evidence that Complainant was subjected to unequal terms and conditions of
employment because of his sexual orientation, homosexual.

Wlhess List:

 A.   Complainant                                                     FFC
      C/o BrittanyFiEgibbon
      Spielberger Law Group
      2025. HooverBlvd.
      Tampa FL 33609
      (800)965-1570ex 116

 B. Abigail onran (non-homosexual),    Human Resources consultant FFC
      C/o Mary Ellen Cherry, Associate General Consul
      Advocate Health Care
      3075 Highland Parlnvay, Suite 600
      Downers Grove,IL 60615
      (630) 929-8t42

 C.   Christopher Skalnic (non-homosexual), Supervisor                 FFC
      CloMary Ellen Cherry, Associate General Consul
      Advocate Health Care
      3075 Highland Parkway, Suite 600
      Downers Grovg IL 60615
      (630)e2e-8t42

D.    WarenJohnson (non-homosexual) housekeeper                        telephone interview 12/2/14
      (708)262-e389

E. VickyHerrera       (non-homosexual)housekeeper                      telephone intenriew l2l4/ 14
      (773)837-7s32
 Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 24 of 51 PageID #:24


Charge No.: 2014CF2690
Page 6 of6

 Exhibits:

   A.   Verified Response and Good Cause Determination.
   B.   Respondent's EEO report.
  C.    Complainant's Discharge Daily Log.
  D.    Respondent's EEO Policy.
  E.    Respondent EVS Budget Reductions Feasibility Assessment.
  F.    Environmental Services Deparfinent Z[l3-2}t4changes.
  G.    co-workers complaints about complainant and complainant coaching.



IRSHELL
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    Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 25 of 51 PageID #:25




                                                                                Director of the O.R
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                                                                         who had also worked
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thought about Kenneth and I staleil toTmnefZoffiffi.ob. enttronv rony Griffin then
                                                                                          stated
to me you know he's a she male. There are other continual incidents that needs to be discussed
in person.
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           To Whom lt May Concern:




           Kenneth Seals worked in the OR of Advocate Christ Medical
           Center as EVS TECH I and while working in the OR, I was his team
           leader.
           Kenneth met all the expectations of the job and worked well with
           others (co workers, nurses, doctors).
            I was sorry to learn that he was being transferred to the main
            housekeepi ng department.




           Suhcribed arxi sworn to Lrefore rrn
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                          \[/ARREN D. JOHNSON

July 8, 2414
To Whom lt May Concern:

I am writing this letter as a character reference for Mr" Kenneth Seals, an Environmental
Service Technician I for Advocate Health Care assigned to Christ Medical Center in
Oak Lawn, lllinois


Mr. Seals and I started working for Advocate Heath Care in September 2A13 and were
assigned to the subdepartment of Surgery and placed in the operating room also known
as the OR    .Mr. Seals is a quick iearner; embraces change and adheres to all polices;
procedures and guidelines



During the time we worked in the OR Mr. Seals received nothing but high praise for his
quick turnover of rooms and his attention to detail. On several occasions other
environmental associates would come to him for suggestions on making better outcomes
of their rooms.
Mr. Seal's is a very direct and brutality honest person; he is open to change and positive
reinforcement. A person that is loyal to family; dedicate to working hard and offers hope
and encouragement for friends and associates a like.
There was never any performance issues with anyone in the OR according to the
comptiments and feedback given from our team leaders down to our supervisors. I do
however recall one instance that Mr. Seals did not come to work and that was due to
some germs he caught and when he informed the supervisor-Mr" Anthony Griffin also
known as'Tony" he was told to take the day off.


ln early January Mr. Seals was moved to a newly formed sub-departrnent known as the
discharge team and all his rooms come back at l0oo/o when inspected for quality.


lf you have any questions or require         additional information     I can be reached at
(708) 262-9389 or iohnson.w@aol.com
                                                                                       OFFICIATSEAL
                         Subscribed and sworn to before mo                             KzuYAKU&IK
Sincerely,               ;-Sry"r"r lor-Y                         -.2olg-"
                                                                               NOTARY PUBI.IC . STAIE OF ILLINOIS
                                                                                irY COllrlllsSl0.l EXPIRES:04/I4I15


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warrH   D. Johnson                                                            9Utrn0.S:,UldG, I,OES0$OO l,la
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                                   9555 S. Kedzie Ave #L4                            il?ruvA'ttDr
                                Evergreen Park, lllinois 60805                        TfiATilCIIJO
                          re|: {7081,?52-938   :   Fax: \V@\,W=*3*28.
                   Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 28 of 51 PageID #:28



               From: Johnson, Warren <johnson.w@aol.com>
                 To: ksealsl2 <ksealsl 2@yahoo.com>
            Subject Training
                Date: Sat, May 17,2O14 1:31 pm



            I was hired at the same time as Mr . Seals on September 23,2013 and attest that no training ever took place
            for the position we cunently hold. Our entire group of over twenty new associates was taken to a clean room on
            the third floor. With regard to discharges we have yet to receive any formal training.


            Warren D. Johnson
            Sent via the Samsung GALAXY S04, atr AT&T 4G LTE smartphone



            I was hlred at the same time as Mr Seals on Sept.ember 23,2013 and attest that
            no traininq ever took place for the position we current,ly hoJ-d. Our entire group
            of over twenty new associates was taken to a clean room on the third floor,
             With regard to discharg,es we have yet to receive any formal trainlng.

            Warren D. Johnson
            Sent via the Samsung GAIAXY S@4/ an AT&T 4G LTE smartphone




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                   Notice Memo    Document #: 1 Filed: 04/01/15 Page 31 of 51 PageID #:31


 Advocate Health Care
  Gorrective Action Notice
  To:                     Kenneth Seals                           Employee Nbr: 3517i20


  From:                   Anthony Griffin


  Re: (Policy violated) Attendance PolicY - 90.13'31

  Warning level:          1




  Effective date:



 I\{r. Seals you are receiving a level   1   warning for violatirgA{vocate's wide Attendance policy,
 #e0.013.031.                                        sril G,
                                                                                       Your
 You have been absent on the following dates: 1-18-14'ff1re 2-17-l4"artd 2-18-14'
                                                                             had to   be   adjusted to
 absenteeism has hada significant impict on the department schedules as they
                    ,"trlU"*ft.AU.a time away from work creates an unfair burden        on your f9119w
                                                                               1--ffi1:=:T'a=;,
                                                                                              I
                                                                                 shifts that yort
 not demonstrate the honor of your commitment to show up to work on time for the
 har,e been scheduled.


 Mr. Seals, this current pattern of absenteeism is unacceptable. It is an expectation that you contribute
                                                                                              through on
 io the department, rit", u"a system goal achievem.ents. Also it is expected that you follow
 you1"               to work tire shifts that you haye !e-e1scheduled. We expect that you show up to
 work "o**itments
       on time for the shifts that you have been scheduled. Failure to do so may result
                                                                                        in further
 corrective action, up to and including termination'


                                                                                                action
 Any further occurrences or policy violations withiir 6 months may result in further corrective
 up to and including termination.


 This Corrective Action may be eligible for Associate Conflict Resolution Program, Advocate
 System policy# 90.013.01j. please consult with HR within 7 calendar days from
                                                                                the issuance        of
 this notice to utilize this program

                                                Manager's Signature                          Date


                                                Associate's   siunattre Zf     ZP
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                    Notice Memo                                                     Page2 of2



   up to and including termination.


   This Corective Action may be eligible for Associate Conflict Resolution Program, Advocate
   System Policy# 90.013.013. Please consult with HR within 7 calendar days from the issuance   of
   this noJico to utilize this


                                                 r's Signature                          Date


                                                                                        Date


  Attached:




htlp:llcorp237t.ahc-ad.advocatehealth.com/correctiveActionNotice/CAMemo.aspx?CAlD..    .   5114120t4
            Case: SEALS
   Name: KENNETH  1:15-cv-02868
                           MRN: Document #: 1 Filed: 04/01/15 Page 33 of 51 PageID #:33
                                TRt_000351192




                                    Excuse from Work or School
                                  KENNETH SEALS
                                                                                                 needs to be excused   lrorl
              Wolk
           School
           Plrysical activiry

 Beginning now and through the following                         date:           1/lg_1120114

           He/slie may return to work/school but still avoicl physical
                                                                       activity lrom ,ow until:

          He/she may return to               full physical activity   as of:


 Caregiver's Signature:



Date:         111812014




Document Released:   0611   3/2002 Document Re-Released: 0912612009
ExitCare@ Patient Information @2012 ExitCare, LLC.




Name: KENNETH SEALS                                                   7 of   I
r4RN: TRI-0003S1 192                                                                            Janl1Bl2014 05:56:40
  Print         Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 34 of 51 PageID #:34
                                                                                         Page 1 of I



   Subject:        FW:

   From:           Seals, Kenneth (kenneth.seals@advocatehealth.com)

   To:             ksealsl2@yahlo,com;
     .                                              .

   Date:           Saturday, May 17,20147:11 PM




 From: Seals, Kenneth
 Sent: Wednesday, April L6,20L4 3:35 AM
 To: ksealsl2@yahoo.com
 Subject: FW:




 From: Seals, Kenneth
 Sent: Thursday, December05, 2013 9:44PM
 To: Skalnik, Christopher
 Subject:



 Hello, Christopher




 I would like to know if possible if i could schedule a meeting with you A.S.A.P do to some concerns that i have
 may with my department manager is not willing to address with me and a professional matter. phone number
 372.420.7300 you could reach out to me at any time.




Thank you




Kenneth Seals

O.R Department

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   Subject:           FW: This is my statement for the matter that happen on Dec 04,20'13

   From:              Seals, Kenneth (kenneth.seals@advocatehealth.com)

  To:                 ksealsl2@yahoo.com;

   Date:              Saturday, May 17, 2014   7   :11 PM




 From: Malito, Caitlin
 Sent: Monday, January 20,207410:26 PM
 To: Seals, Kenneth
 Subject:          RE: This is my   statement for the matter that happen on Dec O4,2Ot3



 Kenneth,




 Did you talk to Mike when this incident occurred in December?




 Also, I spoke with Chris Skalnik and he informed me that you spoke with him regarding your move to the discharge team.
 The reason you were moved is because there was a need for someone on the discharge team. lf you have further
 concerns regarding this reassignment, please reconnect with Chris to discuss.




Thank you,

Caitlin




Caitlin Malito M.S.

ca itlin. ma   I   ito@advocatehea lth. com

Advocate Christ Medical Center

Advocate Children's Hospital

Human Resources

Associate Relations Specialist

Phone: 708-684-5159

Alcatel: 41-5159




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                                                                  > On Oct 2, 2013,         at t:i 3 pM,     ',Griffin, Anthony" <anthonv2.oriffin    @a&                    > wrote:


                                                   Ii
                                                                  > No problem if you can talk with Sterling about it maybe he can help you ... Or I will come back down
                                                                  there next week... to listen to your concerns....let me know.

                                                                  > Thanks, Tony

                                                                  > Sent from my iPhone



                                                 :               >> On Oct 2, 2013, at 12:22 pM, "Kenneth Seats, <tsCaq!agJghgq.@!0>                          wrote:                                            l



                                               :                 >> Thank you for responding so ,ast. I also need to talk to you about some concerns i have about some
                                                                 of my peers.
                                                                 ,,
                                               :                 >> Sentfrom my iphone

                                               i                 >>> On Oct 2, 2019, at 12:12 pM, ,,eriffin, Anthony. <anthonv2.griffin                  @                       > wrote:

                                               :                 >>> Hey Ken, you will request day off through myself ...also I will make sure your pay check is accurate
                                               r                 don't worry you probable won't see your time righi until next week .... Hope I inswered all your
                                                                 question ...

                                               '                 >>> Thanks, Tony

                                               :                 >>> Sent trom my iphone


                                               :                >>>> On Oct2,2013, at.t2:0S pM, ,Kenneth Seats,<tsealg[Z@JAhgg4glE>                                wrote:                                   ,




                                                                >>>> Hello,
                                                                >>>> Tony
                                               :                >>>> I have a few questions. l. How do I go by requesting days off of work. 2. VVho would be the
                                               I                person that put my time in from last week 23-27, because my time still haven,l been put in yet.

                                                                >>>> Thank you,

                                             r                  >>>> Sentfrom my iphone

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                                                         Ronnie.!
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                                          Thankyou



                                          onJan31,2o14,at3:45PM,,,Anderson,Ronnie,,<ronnie.anderson@ad>Wrote:
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                                                   Ronnie Anderson
                                                  Strategie Staffing Consultant
                                                  Hurnatr Resources IRecmitment & Steffing
                                                  Advocate flhrist l\,Iedical Center | {440 }v. gSJh Street Oak Larvn, IL 60453
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                                                  Arlvocate Childrcn's Hospital l0ak La*n Campus and llark l{idgr. Canrpus
                                                  70a6,14n026 ph. |708/684/4006 fx.
                                                  ronnie.:rnderson @) advocatehealth.com

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                                                  A Magnet Medical Centcr since 2005!




                                                 From: Kemeth Seals tmailto:ksealsl?@)
                                                 Sent: Tuesday, Jatruuy 28, 2014 7 :38 pM
                                                 To: Anderson, Romie
                                                 Subjmt: Re: This is my statement for                    ttre matter that happen on Dec 04,2013


                                                 Hello, Ronnie


                                                 Just checking back with you to see of any positions came up that I make qualify
                                                 for!? I start my Cna class on Monday.




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                             Thank you

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                             Ot Jan22,2074, at 3:20 PM. "Anderson, Rorrrie,,
                             @wrote:
                                  She sent it on the 20i:'. see below.


                                  Ronnie Anderson
                                  Strategic Staffing Consultant
                                  Human Resources I Recruitunent & Stalling
                                  Advocste Christ Medical Center | 4440 W' 95th Slreet              Oak Lawn.
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                                 From: Malito, Caitlin
                                 Sen* Wednesday, Jan\ nf 22, ZO14        !19 pM
                                 To: Anderson, Romie
                                 Subject: FW: This is my statement for the matter that happen on Dec 04,2013


                                 FYI
                                 Caidin Cmavan Malito, M.S.
                                 caitlin.malito@advmatehealth.com
                                 Adveate Chdst Medical Center
                                 Adv@ate Children's Hospital
                                 Humm Resouces
                                 Associate Relations Specialist
                                 Phone: 708-684-5159
                                 Alcatel:41-5159




                                From: Malito, Caitlin
                                Sent: Monday, January 2O,2014 4:26PM
                                To: Seals, Kenneth
                                Subject: RE: This is my statement for the matter that happen on Dec
                                04,2013

                                Kenn*th,

                                Dirl you mlk to fuIike whet this incirlent occuned   ir   December?

                                i\lso, I spoke *,ith Clris Skalnik and he infonned me that you spoke rvith
                                Itirn regarding your move to rhe disc.harge team. The reason you lvere
                                movecl is btcause there was a need for someone on the discharge tearn.     if
                                you have further concerns regading this rcassiglment, please reconnect
                                with Chris to discuss.

                                Thank you,
                                Caitlin

                                Caitlin Malito M.S.

                               Advcate Christ Medical Cetrter
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                                            tr'rom: Anderson. Ronlie
                                            Sent Friday, Jatruary 11, 2014 2:02 PM
                                            'lb:   Seals, Kenneth
                                            Cc: Malito, Caiflin
                                            Subjecl: RE: This is my sal.ment for &e matter thar happen on Dec 04,20 I 3


                                            Thanks so much Kenneth. Caitlin please nee below. thanks


                                           Ronnie Anderson
                                           Strategic Staffing Consultant
                                           Hurnan Resources lRecruitment & Slaffing
                                           Advocate Christ l\,Iedicat Center | 4440 !\'.95th Street I Oak Lawn,
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                                           Advoeate Chiklren's Hospital loak Lawn Campus antl park Ridge
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                                           ronnie,anderson @ advocatehealth.ctrm
                                           To apply online go tol www.advocatrhealth,conl

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                                          ftom:        Seals, Kenrreth
                                          Scnr: Friday, Jmuary 1'7,2014 l:44PNI
                                          lb:   Anderson- Rororie
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                        I                 Subject: This is my statement for the matter that happen on Dec 04,2013


                        ,                 Upon my       imial   on Dec 04, 2013 walking out of the locker room onto the O.R
                        I                 floor.   I   heil for hm over team come to room two we
                                                                                              are coming Vicky Herera
                        :                md I immediately go to room two to do the tum over, mria thm cme into the
                        I                room asking if i was fre I told her yes. We thm walked into the family waiting
                        lrcomaIeatogetiermuaisaidkemethlookatthetrashit'slikeifnoonehave
                        :beenoverherealldaycheckingonthetrashnorcleanedoverheremenot
                        :            kowing what to do i took a pictuer,s of the fmily waiting rea md trash in sent
                                         it to Anthony Griffin in mder the pictuer i typed the moming shift did not take
                        iouttheEash.AnthonyGriflmimediatelycallmyteamleaderaskinghimifi
                        .u.iogtheissuetohimmyteamleadeItoldAnthonyGriffnnowhichistrue.I
                        ihavesentAltholyGriffinpictuesbeforeheevengivemepemisSiontodoso.
                     i                   after Anthony Griffin got done talking to my team leader he called me i missed
                     I                   his call then he texted my cell phone asking for me to call him. I called Anthony
                     ,                   Criffm back he picked ud asked if i address the issue wittr my team leader i told
                     i                   him no. I than explained to Anthony Gdfflm the reason why i did not take it to
                                         *y team leader is because my dme i have a concem my tem leader always tell
                    ,;
                                         me to bring rhe issue to you myself.Anthony gilffin asked ifi address the issue.
                    :                    I totd him yes by senditrg you the pictures i was addresing the issue mthony
                    :                    g.iffm said addrcssing the issue is you taking care ofttre problem fu as you
                    :                    taking out the trash tet me explain ttris to you I\,Ir. Seals it,s no bodyjob when
                                                                                                                                  I

                    :                    you see something that need to be done do it , Anthony    Griffn   you don't know

                    :*hodidwhatitcou]dhavebeenbusy.IthmexplainedtoAnthonyGriffinthat
                    I                   whm i cl@k n at 2:53pm everyday that two of his assGaiates ile sitting in the
                    :                   locker room waiting to cl@k. my reasotr ofsaying that is because that trash could
                                        have been used to do a walk tbrough ofthe deparbneft making sue everything is
                                        donesothatthenextshiftcotiIdhaveasmoothtra6ition.AlthonyGriffm
                                        ..pond if you dont like the way thing,s are going maybe you should look for you
                    :
                                        a newjob Mr.Seals. I asked Anthony GrifFm ifhe was ttrreating me he respond

                    :                   you take it who you wmt to take it. I told Anthony GrifFn that i apologize for
                    :                   upsetting him. Althony Griffin than respond i'm trying to mdersrand why was           !




https://us-mg6.mail.yahoo.com/neo/b/message;_ylc=X3oDMTBvoHR0YzRoBFgTAzk2N.                                                           ..   1/26/2015
 Re: This is my statement for the mattil that happen on Dec 04,2013 - Sent - Yahoo Mail Page 4 of 4
          Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 43 of 51 PageID #:43

                                        you in area that you not responsible for next time   m.   seals   if have any concems
                                        next dme go to your teao leader i than asked Anthony       Griffn how would i know
                                        if   my concems been address, Anthony Griffm responded that's something you
                                        got to life with if you don't like the way thing's are going m. seals maybe you
                                        shouid   lmk for you a new job, because this isa't the job for you i'm just trying to
                                        help   you be success to male it pass you 90 day's probatiotr. I asked Anthony
                                        grif6n ifhe no longer won't for me to bring my concems to him or send him
                                        pictues he respond no or. seals thafs not what i'm saying it okay for you to said
                                        picue's. I honestly think Anthony griffm got agitated with me because i was
                                        reporting something on shift when he is here. I have reported issues to Anthotry
                                        Griffin by sending picture's never reacted this was he usually would say kep this
                                        between us mr.sea.ls.




                                        I'm fearfi:l that i my lost my job for thiDking it was okay for me to bring my
                                        concems to my supenisor without Anthony Griffm telling me maybe i should
                                        look for   a   new job.




                                        Kemeth Seals
                                        312.420.7300
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  Re: ThisCase:
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                                                                  Page      yahoo
                                                                        44- of 51 PageID
                                                            04,2073                Mail #:44
                                                                                          Page 3                                                       of4

                                         Alcateli 4l-5159


                                         <imagefi)3jpg>


                                         ftom:    Anderson, Ronnie
                                         Sent Friday, Jmuary ti ,2014 2:O2pM
                                         lb:   Ssats. Kenne0l
                                         Cc: Maliro, Caitlitr
                                         Subject; RE: This is my stabmenl for the maffer that happe, on Dec 04,20 | 3


                                        Thanks so much Kenneth. Ctaitlin please see belog,. thanks


                                        Ronnic Anderson
                                        Strategic Staffi ng Cons*ltant
                                        Human Resources I Recruitrnent & Stalling
                                        Advocate Christ Bledical Center | 4,t40           ll'. gsth Street   I Oak   Lawn,
                                        IL    60453
                                        Atlvocate Children's Hospital loak Lann Campus antl park Ridge
                                        Campus
                                        ?48fi8111026 ph. | 708/6s4i4006 fx.
                                        ronuie.anderson @advrrcatehealth.cgrn
                                        'Io apply online go to; www.gdvocatehealth,com

                                        A llagnet &Iedical Center sinr:e ?00S!
                                                      Inspirirrgmedicine, Chauginglives.
                                       <imagel)04 jpg><irnage005 jpg>




                                       F'rom: Seals, Keunetlr
                                       Sent Friday, January 17,?014 l:44pM
                                       To: Ands$on. Ronnie
                                       Subject: FW: This is my statement for the matter rhit happen m Dec 04,2013



                                      from:     Seals, Kenneth
                         :            Sent     Saturday, December 07, 2013 Z:22         AM
                         i            To: Michalkowski,         Mariusz                                                                            I


                         :            Subject: This is my statement for rhe matter that happen on Dec 04,2013
                         I

                        I             Upon my :Wial oD Dec 04, 20 I 3 walking out of the locker room onto tle O.R
                        :             noor.I hear for tm over team come to room two we are coming Vicky Henera                                 :




                         :            room asking if i was free I tord her yes. we tlatr warked into the family waiting
                         :            room area together marai said kemeth look at the ftash it,s like ifno
                                                                                                            one have
                         :            Ueen over here all day checking on tie trash nor clemed over here
                                                                                                           me not
                        :             towing what to do i took a pictuer's of the fmily waiting aea md trash in sent
                                                                                                                                           :

                        I             it to Anthony Griffin in mder the pictuer i typed tle moming shift did not
                                                                                                                 tal(e
                        ,            out the trash. Anthony Griffin immediatety call my tem leader asking him if i
                        i            bring the issue to him my tem leader told Anthony Griffm no which is true. I
                        j            have sent Antiony Griffin picnres before he even give me
                                                                                              trEmission to do so          .
                        :afterAnthonyGrifiingotdonetalkingtomyteamIeadeIhecatledmeimissed                                              :




                    ;                nis carl then he texted my ce[ phone asking for me to call him. I cailed Anthony
                    ;                Criffm back he picked md asked ifi address the issue with my team leader i told
                    I                bim no. I than explained to Aathony Griffia the reason why i did Dot take it to
                    I                my team leader is because my time i have a concern my team leader always tell
                    r                me to bring the issue to you myserAtrthony griffrn asked if i address
                                                                                                           the issue.
                    i                I totd him yes by sending you the pictures i was addresing the issue     atrthony             :

                    :cnfiinsaidaddressingtheissueisyouukingcueoftheprobtemfaIaSyou
                    :                taking out the trash let me explain this to you Mr. Seals it,s no bodyjob when
                    ,                you see something that need to be done do it Anthony
                                                                                    ,         Griffm you dotr,t know
                    i                who didvhat it could have been busy.I rhm explaircd to Anthony Griffin that

                    ::heniclGknat2:53pmeverydaythattwoofhisassmaiatesaresitthginthe
                                          room waiting to clock. my reason ofsaying ttrat is because that Eash could
                    :               ]mker
                    :               have been used to do a walk through ofthe depiltment making sue everything
                                                                                                                  is
                    i               done so tlat the next shift could have a smooth ftansition. Anthony
                                                                                                             Griffn            I

                    irepondifyoudontliketlewaythitrg'SaegoingmaybeyoushouldlookfoIyou
                    :anewjobMr.Seals.IaskedAnthonyGriffinifhewasthreatingmeherespond
                    :               you tal(e it who you wmt to ta-ke it. I told Anthony   Grif6,   rhat i apologize for
                    I               upsetting him. Anthony      Griffia thm   respond i,m trying to mderstand why was




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   Re: ThisCase:
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                  statement for theDocument
                                    matter that #: 1 Filed: 04/01/15 Page   45 -ofyahoo
                                                                                    51 PageID
                                                happen   on Dec 04,2013 - Sent          Mail #:45
                                                                                                Page2 of 4

                               Thank you

                               Sent from my iPhone

                               On Jan 22, 2014, at 3:20 pM. "Anderson, Ronnie,,
                               @unote:
                                        She sent it on the 20th. see below.


                                     Ronnie Andersnn
                                     Strategic Staffi ng Consultant
                                     Human Rssources lReeruitment & Slafting
                                     Advocate Christ Merlical Center
                                                                     l4.f401V.gSth Street I Oak Laxt.
                                     Ir,60453
                                     Advocate Children's Hospital l0ak Lawn Campus and park
                                                                                                Ridge
                                     Campus
                                     708168rnfi26 ph. | 708/68cid006 fx.
                                    &!lEit.anderson @ edlocatehealth,com
                                    'I'o apply online go to: rrrvw.advocateirealth.conr

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                                    <irrrage00.l jpg><i mrgcS05.jpg>




                                   From: Malito, Caitlin
                                   Sent Wednesday, Jmtry 22, 2014 3:19 pM
                                   To: Anderson, Romie
                                   Subject: FW: This is my statemeilt for the matter that happen
                                                                                                 on Dec O4,2Ol3

                                   FYI
                                   Caidin Cmavan Malito. M.S


                                  Advocate Chdst Medical Center
                                  Advmate Childrcn's Hospitat
                                  Human Resouces
                                  Associate Relations Specialist
                                  Phone; 708-684-5159
                                  Alcatel:41-5159




                                  From: Malito, Caitlin
                                  Sent: Monday, January 20,2014 4:26pM
                                  To: Seals, Kenneth
                                  Subject: RE: This is my statement for the matter that happen
                                                                                               on Dec
                                  04,2013

                                 Kenfl{:th,


                                 Diel   yi.rr"r   talk to l\,tike u,hen {his iucidtrrt trccurrud iri Decemhr:r?

                                 Also, I spoke with Chris Skahik ancl he infornetl r))e that
                                                                                             vou spoke with
                                 hirn regarding your move to the clisc.harge team. The reason ynu ru.."
                                rnoved is because there was a net-.d for someone on the (lischarge
                                                                                                   tearn. If
                                you have further concerns tegarding this rcassigrrment.
                                                                                        please reconnect
                                with Cliris io discuss.

                                Thank you,
                                Caitlin

                                Caitlin Malito M.S.
                                caitlin.malito      @   advocatehealri.com
                                AdY@ate Christ Medical Center
                                Advtrate Children s Hospital
                                Hum    Resouces
                                Assmiate Relations Specialist
                                Phone:708-684-5159




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                                                                     - Sent     51 PageID
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                                                                       From:
                                                                                   KennethSeals<kseals12@yahoo.com>
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    Notes                                   :                                      1.0 {1.0}
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                                                                             Re: This is my statement for the matter tnat hafpen on Dec 04,20.13
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   Admlnistration                                                               i.:95,,r-g:1ca4i
                                                                          To:                         Bonnie,, <ronnie.anderson@advocatehealth.com>
                                                                                :Anderson,
                                                          Cqtent-Length: i 451 l1

                                                                                                                                                      Clmp:ct Hffide6 Print:bte View
                                                                                                                                                                                               :


                                                    Thankyou Bonnie.!

                                                    Sentfrom my       iPhone                                                                                                                   :




                                                    onJan31,2o14,at3:45PM,.'Anderson,Bonnie,,<ronnie.anderson@a&>wrote:

                                                            'Ihatisgr*ttl!!            Nothingnewjustyel                                                                                   ,




                                                            Ronnie        Anderson                                                                                                         ,




                                                            Ilurnan Resources I Recruitrnent & Stalling
                                                            Advocate Cthrist lVledieal Center l.{440 W-.gsth Street Oak L*rvn,                         IL   60453
                                                                                                                   I
                                                           Advoate Children,s Hospital l0ak Lawn Citmpus antl park l{idge Campus

                                                           ronuie.anderson€)advocatehealth"com                                                                                         :

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                                                                                                                                                                                       :


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                                                           <image00t.lpg><inrage002.ipg>




                                                          From: Kemeth Seals lmailto:ksealslZ@yahoo.coml
                                                          Sent: Tuesday, Janury ?8, 2/014 7 :38 pM
                                                          To: Ande$on, Romie
                                                          Subjrct: Re: This is my statement for tie matter that happen on Dm 04,2013

                                                          Hello, Ronnie



                                                          Just checking back  with you to see ofany positions came up that I make qualify
                                                          for!? I start my Cna class on Monday.




https://us-me6.mail.vahoo.com/neo/b/messase: vlc=)l36pMTRvOHROyzRoRFgTAzk2.N 1 D6D015
  RE: RE: Re: RE: RE: RE: Sent - Yahoo Mail
          Case: 1:15-cv-02868 Document #:                         1 Filed: 04/01/15 Page 47 of 51 PageID #:47
                                                                                                           Page 4 of 4



                                                              Hello Honnie


                                                              Have you received my emailthat       I

                                                              sent you on yesterday lar as the
                                                              positions that I applied lor at
                                                              Chrisr !


                                                              Sent from my iphone
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   Re: RE: Case:
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                                                                                        Page 3 of 4


                                        A Magnet Medical Center since 2OOS!

                                        ..               lnspiring mediclne. Changing
                                        lives.




                                        ---Original Message---
                                       From: Kenneth Seals
                                       lmailio:ksealsl 2 @vahoo.coml
                                       Sent Wednesday, March 12,2014 4:27 pM
                                       To: Anderson, Bonnie
                                       Subject: Re: RE:


                                       Okay just chBcking, because I know on
                                       yesterday you totd me that the positions that I
                                       have applied for was at other locations!
                                       Question do you only handle or deal wiih EVS
                                       as far as giving iob offers t?



                                       Sent from my iphone


                                                 on Mar 12,2014, at 4:29 PM,
                                                 "Anderson, Ronnie,
                                               .relrlic.alderssl-@edy            el!
                                               h.com> wrote:


                                              Yes, you are in processes for
                                              those still il the recruiter is
                                              interested they will callyou.
                                               Those are not areas handle.


                                              Ronnie Anderson
                                              Strategic Staff ing Consuttant
                                              Human Resources J Recruitment
                                              & Staffing Advocate Christ
                                              Medical
                                              Center | .K40 W. 95th Street I
                                              Oak Lawn, lL 6045A Advocate
                                              Children's
                                             Hospitat lOak Lawn Campus and
                                             Park Bidge Campus
                                             7 081   684h 026 ph. I z 0g/694/ 4006
                                             fx.


                                             .com
                                             To apply online go to:
                                             www.advocatehealtb.com


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                                             2005!
                                                        lnspiring medicine.
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                                             __Original    Message__-                    :


                    :                     From: Kenneth Seals
                    ,

                    ,                     20142:17 pM


                    :                    Subiect:




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   Re: RE: Case:
           Re: RE:1:15-cv-02868
                    RE: RE: - SentDocument
                                  - Yahoo Mail
                                           #: 1 Filed: 04/01/15 Page 49 of 51 PageID #:49
                                                                                        Page 2 of 4


                                To: "Anderson,     Ronnie,'<ronnie.anderson@                        >
                                Sublect: Fe: ne: Re:  REi-
                                Hello, Ronnie

                                I wanted to knor/v if possible could you review the job positions
                                                                                                   that I have
                                been applying for. I have now been with the company for z monttri
                                                                                                        Oeen
                                doing applications every sense than in no one still haven,t revLweO
                                                                                                         my;oo
                                applications thai I have been submitting for new job otfers. lf possible
                                                                                                           can
                                youJelt.me if t'm applying for the job poiitions th6
                                advocate worker! Thank you
                                                                                     c.orrect way asi
                                Sent from my iPhone


                                OnMar 12,2014, at6:49 pM, "Anderson. Flonnie,
                                <ronnie.anderson   @ad                      > wrote:


                                      Medical Records


                                      Ronnie Anderson
                                      Strategic Statf ing Consuttant
                                      Human Besources I Becruitment & Staffing
                                      Advocate Christ Medical Center I 4440 W. gsth Street
                                                                                           lOak
                                      Lawn, IL 60459
                                      Advocate Children,s Hospital
                                                                   loak Lawn Campus and park
                                      Ridge Campus
                                     7081684/1026 ph. I Z08|68414006 tx.


                                     To apply online go to:


                                     A Magnet Medical Center since 2OO5!
                                                    lnspiring medicine. Changing lives.




                                    ---Original Message---
                                    From: Kenneth Seals Imailto:ksealsi2@vahoo.coml
                                    Sent: Wednesday, March 12, 2014 6:40 pM
                                    To: Anderson, Ronnie
                                    Subject: Be: BE: BE:


                                    Question, so the information scanner tech is not apart of
                                    nursing or would that be medical records!?


                                   Sent from my iphone


                                          On Mar 12,2014, at 5:21 pM, ,,Anderson,
                                          Ronnie"
                                          <ronnie_anderson@ad                          >
                                          wrote:


                                          No, I do ail of Nursing.


                                          Ronnie Anderson
                                          straieg jc staff ing consultant
                                         Human Resources I Recruitment & Staffing
                                         Advocate Christ Medical
                                         Center I 4440 W. 95th Street I Oak Lawn, tL
                                         60453 Advocate children,s
                                         Hospitat IOak Lawn Campus and park Ridge
                                         Campus
                                         7o8/684h026 ph. | 7Oe/694/40O6 Ix.


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                                                                               1/26/201
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          Case: 1:15-cv-02868 Document #: 1 Filed: 04/01/15 Page 50 of 51 PageID #:50
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    Y-ou're seeing Basic Mail because you're using an unsupported lnternet
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  ll Banks Knew You Did This,
  They'd Freak                                                    To: "Anderson, Bonnie,, <ronnie.anderson@advocatehealth.com>

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                                                Sent rrom my iPhone

                                                On Apr25,2014,at 1:13 pM,',Anderson,                          Ronnie,,<I90[.ie.anderson@advo                      > wrote:


                                                       I think it would be better if I give you a number to call to follow up on your
                                                       applications 847-6Bs-1447. rf you are quarified forrhe position you wirr receive
                                                       an email or a phone screen for the position. lf you are not hea;ing anything
                                                       back, please remember that many people apply to these positions and all -
                                                       cannot b6 reached for every iob they applied to. when the positions is fill or if
                                                       you are not qualified, you wiil receive an email.

                                                       Ronnie Anderson
                                                       Strategic Stafting Consultant
                                                       Human Resources I Recruitment & Stafring
                                                       Advocate chrisr Medicar center | 44it0 w.95th $treet oak Lawn, rL 60453
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                                                       Advocate Children,s Hospilal loak Laurn Gampus and park Ridge Campus
                                                       748168411026 ph. I z08/6s4/4006 fx.
                                                       ronnie.andersorl @advocatehealth
                                                       To apply online go               to: www.advoc,tehealth,com
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                                                      From: Kenneth              rr"irt"rt*riliio*r,rr""i.l
                                                      Sent: Friday, Aprit25,ZO149:22 AM
                                                      To: Anderson, Bonnie
                                                      Subiect: Fwd: Re: BE: RE: RE:



                                                      Sent from my iPhone

                                                      Begin forwarded message:

                                                             From: Kenneth <kseals.l 2@yahoo.com>
                                                             Dalet Aptil 22,2014 at 2:04:1 9 pM CDT




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                      December 9,2A14




                     Kenneth Seals
                     7618 S. Kingston Apt.                                    lE
                     Chicago, IL- 60619


                     Dear Kerureth Seals,

                     This is to confirm your intake appointment on December 18. 2014 at 2 p.m.

                     If you are unable to keep this appointment                                    and would like to cancel or reschedule, please
                     call773-371-2900 at least 24 hours before your appointnrent to avoid a cancellation fee.
                     Please come prepaied by bringing your photo ID and medical card for all appointments.

                     If you have any questions, please feel free to call me at 773-371-2900.
